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                       C.f'\SE UNSEALED PER   ORDER OF COURT
 7                                                                                      au-c;::
 8                                      UNITED STATES DISTRICT COURT

 9                                    SOUTHERN DISTRICT OF CALIFORNIA

10                                             June 2017 Grand Jury                                      __ .

11
                                                                        18 CR 4 Hr; ?··. GPC
          UNITED STATES OF AMERICA,                      I Case No.
12                       Plaintiff,                      I I N D I C T ME N T
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                                                                 '
13                v.                                      Title 18, U.S.C., Sec. 1349 -
                                                          Conspiracy to Commit Wire Fraud;
14        AMIL RAAGE,                                     Title 18, U.S.C.,
                                                          Sec. 981 (a) (1) (C) and Title 28,
15                       Defendant.                       U.S.C., Sec. 246l(c) - Criminal
                                                          Forfeiture
16

17 II            The grand jury charges:

18 II                                                  Count 1

19 II            From on or about July 23,            2018, through on or about September 10,

20112018, within the Southern District of California and elsewhere, defendant

21 llAMIL RAAGE and others known and unknown to the grand jury, did knowingl

22 II and intentionally conspire to devise and execute a scheme and artifice

23 llto defraud and to obtain money and property by means of materially false

24 II and fraudulent pretenses,                  representations,     and promises,                     and to cause

25 II the interstate transmission of writings, signs, signals, and sounds fo

26 If the purpose of executing that scheme,                    in violation of Title

27 II States Code, Section 1349.

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          AFF:nlv:San Diego:ll/7/18
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              Case 3:18-cr-04858-GPC Document 1 Filed 11/08/18 PageID.2 Page 2 of 2




 1                                        FORFEITURE ALLEGATION

 2              1.    Upon conviction of        the     offense      alleged in Count        1 of     this

 3 II Indictment          and    pursuant       to      Title        18,      United     States      Code,

 4 II Section 98l(a) (1) (C), Title 28, United States Code, Section 246l(c), an

 5 II Rule 32. 2,       Federal Rules of Criminal              Procedure,          defendant AMIL

 6 II shall forfeit to the United States any property, real or personal, whic

 7llconstitutes or was derived from proceeds traceable to such violation.

 8              2.   If any of the above-described forfeited property,                      as a result

 9 llof any act or omission of Defendant AMIL RAAGE,                          cannot be located upo

10 II the      exercise    of   due   diligence;      has    been transferred or           sold     to,

11 II   deposited with, a third person; has been placed beyond the jurisdictio

12 llof the Court;         has been substantially diminished in value;                      or has bee

13 If commingled        with    other    property     which     cannot        be    subdivided    without

14 II difficulty, it is the intent of the United States, pursuant to Title 21,

15 !!United States Code, Section 853(p), made applicable herein by Title 28,

16 II United States Code,             Section 2461 (c),       to seek forfeiture of any othe

17 !!property of the defendant up to the value of the property described above

18 II subject to forfeiture.

19 llAll       pursuant    to   Title    18,   United       States    Code,    Section 98l(a) (1) (C),

20 llTitle 28, United States Code, Section 246l(c).

21 II           DATED: November 8, 2018.

22

23

24      ADAM L. BRAVERMAN
25      United States Attorney

26
        By,    ~r--.,
27             ~F.           FOSTER
                Assistant U.S. Attorney
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